
The Court having considered the petition for disciplinary or remedial action filed in the above entitled matter in accordance with Md. Rule 19-737, and the response to the show cause order filed by Bar Counsel, it is this 16th day of February, 2016
ORDERED, by the Court of Appeals of Maryland, that the petition be, and it is hereby granted, and Eleanor Nace is disbarred, effective immediately, from the practice of law in this State subject to further order of this Court; and it is further
ORDERED, that the Clerk of this Court shall forthwith strike the name of Eleanor Nace from the register of attorneys in this Court and shall certify that fact to the Trustees of the Client Protection Fund *640and the clerks of all judicial tribunals in the State in accordance with Rule 19-761.
